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IN THE UNITED STATES DISTRICT CoURgg _,UL .', AH -,, 54
FoR THE WESTERN DISTRICT oF TENNESSEE

 

 

WESTERN DIVISION THOMAS M. EOLLD
G.EW& U.S. DlSTMCT CO\M
WD'OF“?N.'MEW|'|S

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 05-20055 D
vs.
TAVARIS BOOTHE,

Defendant.

ORDER OF TRANSFER

 

'l`he above-styled case is hereby transferred to Judge Samuel H. Mays, as this Defenda.nt has

a case pending before Judge Mays.

IT IS SO ORDERED this 30 may o 2005.

 

ITED STATES DISTRICT IUDGE

This document entered on the docket Sheet In compliance
W`ith Hu!e 35 and/or 32(b) FRCrP on

 

 

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Honorable Samuel Mays
US DISTRICT COURT

